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                                Exhibit
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     ALEKSEJ GUBAREV vs BUZZFEED                                                1

·1· · · · · ·UNITED STATES DISTRICT COURT
· · · · · · ·SOUTHERN DISTRICT OF FLORIDA
·2· · · · · · · · · MIAMI DIVISION

·3

·4· ·ALEKSEJ GUBAREV, XBT· · :
· · ·HOLDING S.A., and· · · ·:
·5· ·WEBZILLA, INC.,· · · · ·:
· · · · · · · · · · · · · · ·:
·6· · · · · Plaintiffs,· · · : Case No:
· · · · · · · · · · · · · · ·: 1:17-cv-60426-UU
·7· ·v.· · · · · · · · · · · :
· · · · · · · · · · · · · · ·:
·8· ·BUZZFEED, INC., and· · ·:
· · ·BEN SMITH,· · · · · · · :
·9· · · · · · · · · · · · · ·:
· · · · · · Defendants.· · · :
10

11

12· · · · · · · · ·**CONFIDENTIAL**

13· · · · DEPOSITION OF ANTHONY J. FERRANTE

14

15· · · · · · · ·Friday, July 27, 2018

16· · · · · · · · · · 10:20 a.m.

17

18· · · · · · · ·Davis Wright Tremaine
· · · · · · 1919 Pennsylvania Avenue, N.W.
19· · · · · · · · ·Washington, D.C.

20

21· · · · ·Terry L. Bradley, Court Reporter

22


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·1· · · · · · · · P R O C E E D I N G S

·2

·3· · · · · · · · ANTHONY J. FERRANTE

·4· · having been first duly sworn, testified as

·5· · follows:

·6

·7· · · · · · · · · · ·EXAMINATION

·8· ·BY MR. FRAY-WITZER:

·9· · · ·Q.· · Good morning.

10· · · ·A.· · Good morning.

11· · · ·Q.· · Would you please state your name for

12· ·the record.

13· · · ·A.· · Anthony Ferrante.

14· · · ·Q.· · And Mr. Ferrante, can you tell me,

15· ·have you ever been deposed before?

16· · · ·A.· · I have not.

17· · · ·Q.· · So the ground rules are pretty

18· ·simple, I think.· I'll try and ask you a series

19· ·of questions, you'll get a chance to answer.

20· ·If I ask you a question and you respond to it,

21· ·I will assume that you understood the question.

22· ·Is that fair?


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·1· · · · · · ·-- can take care of himself.

·2· · · · · · ·MR. FRAY-WITZER:· You can answer the

·3· ·question.

·4· · · · · · ·THE WITNESS:· My answer to your

·5· ·question is:· You mischaracterized the scope of

·6· ·my assignment.

·7· ·BY MR. FRAY-WITZER:

·8· · · ·Q.· · Why don't you tell me how you think

·9· ·I've mischaracterized that?

10· · · ·A.· · So I will tell you the scope of my

11· ·assignment.· The first part of what you read.

12· ·The scope of my assignment was to conduct a

13· ·technical investigation to collect evidence

14· ·related to:· "A company called XBT/Webzilla and

15· ·its affiliates had been using botnets and porn

16· ·traffic to transmit viruses, plant bugs, steal

17· ·data and conduct 'altering operations' against

18· ·the Democratic Party leadership."

19· · · ·Q.· · So just so that I understand, the

20· ·second sentence that I had read:· "Entities

21· ·linked to one Aleksej Gubarev were involved and

22· ·he and another hacking expert, both recruited


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·1· ·under duress by the FSB, Seva Kapsugovich, were

·2· ·significant players in this operation."

·3· · · · · · ·Do I understand you to be saying

·4· ·that you were not investigating the part that I

·5· ·just read?

·6· · · ·A.· · Other than the fact that Aleksej

·7· ·Gubarev owned and operated XBT, it was outside

·8· ·the scope of my investigation.

·9· · · ·Q.· · So am I correct that you didn't

10· ·investigate, for example, whether or not

11· ·Aleksej Gubarev was working for the FSB?

12· · · ·A.· · Other than the fact that Aleksej

13· ·Gubarev owns and operates XBT, that was outside

14· ·the scope of my investigation.

15· · · ·Q.· · So you were not investigating

16· ·whether or not he was working for the FSB?

17· · · ·A.· · Other than the fact that Aleksej

18· ·Gubarev owns and operates XBT, it was outside

19· ·the scope of my investigation.

20· · · ·Q.· · Did you do any investigation with

21· ·respect to Seva Kapsugovich?

22· · · ·A.· · The scope of my investigation was to


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·1· ·altering operations?

·2· · · · · · ·MS. BOLGER:· Object to the form of

·3· ·the question.

·4· · · · · · ·THE WITNESS:· I think we can

·5· ·disagree that I believe I have answered the

·6· ·question.· But I will further state that other

·7· ·than the fact that XBT employees did little to

·8· ·nothing to detect, stop and prevent the

·9· ·significant malicious activity, I have no

10· ·evidence of them actually sitting behind a

11· ·keyboard.

12· ·BY MR. FRAY-WITZER:

13· · · ·Q.· · And you have no evidence that Aleks

14· ·Gubarev personally did any of the things

15· ·alleged in the Steele dossier?

16· · · ·A.· · Other than the fact that Aleksej

17· ·Gubarev owns and operates XBT and related

18· ·entities, he was outside the scope of my

19· ·assignment.

20· · · ·Q.· · When you say that XBT employees did

21· ·not do enough in response to what you say is

22· ·use of XBT's infrastructure --


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·1· · · · · · ·CERTIFICATE OF NOTARY PUBLIC

·2· · · · · ·I, Terry L. Bradley, the officer before

·3· ·whom the foregoing deposition was taken, do

·4· ·hereby certify that the witness whose testimony

·5· ·appears in the foregoing deposition was duly

·6· ·sworn by me; that the testimony of said witness

·7· ·was taken by me in shorthand and thereafter

·8· ·reduced to computerized transcription under my

·9· ·direction; that said deposition is a true

10· ·record of the testimony given by said witness;

11· ·that I am neither counsel for, related to, nor

12· ·employed by any of the parties to the action in

13· ·which this deposition was taken; and further,

14· ·that I am not a relative or employee of any

15· ·attorney or counsel employed by the parties

16· ·hereto, nor financially or otherwise interested

17· ·in the outcome of the action.

18
· · · · · · · · · · · ____________________________
19· · · · · · · · · · Notary Public in and for
· · · · · · · · · · · the District of Columbia
20
· · ·My Commission expires:· April 30, 2022
21

22


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